Case 21-10751-CLC   Doc 50   Filed 03/16/24   Page 1 of 8
Case 21-10751-CLC   Doc 50   Filed 03/16/24   Page 2 of 8
Case 21-10751-CLC   Doc 50   Filed 03/16/24   Page 3 of 8
Case 21-10751-CLC   Doc 50   Filed 03/16/24   Page 4 of 8
Case 21-10751-CLC   Doc 50   Filed 03/16/24   Page 5 of 8
            Case 21-10751-CLC         Doc 50     Filed 03/16/24       Page 6 of 8




                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA

In re:   Adniel Leon                                              Case No.: 21-10751-CLC
                                                                  Chapter 13
                    Debtor(s)                   /

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the Certificate of

Compliance, Motion for Issuance of Discharge, and Notice of Deadline to Object was

sent to all parties on the attached service list on March 16, 2024.

Electronically: Nancy K. Neidich, Trustee

First Class Mail:

Debtor(s), Adniel Leon
4040 NW 187th Terrace
Miami Gardens, FL 33055-2741

All Creditors on the Matrix

Respectfully submitted:                 Jose A. Blanco, P.A.
March 16, 2024                          By: /s/ Jose A. Blanco | FBN: 062449
                                        Attorney for Debtor(s)
                                        102 E 49th ST
                                        Hialeah, FL 33013,
                                        Tel. (305) 349-3463
                                        E-mail: jose@blancopa.com
                                  Case 21-10751-CLC              Doc 50        Filed 03/16/24       Page 7 of 8
Label Matrix for local noticing                     Synchrony Bank by AIS InfoSource, LP as agen         (p)JPMORGAN CHASE BANK N A
113C-1                                              4515 N Santa Fe Ave                                  BANKRUPTCY MAIL INTAKE TEAM
Case 21-10751-CLC                                   Oklahoma City, OK 73118-7901                         700 KANSAS LANE FLOOR 01
Southern District of Florida                                                                             MONROE LA 71203-4774
Miami
Sat Mar 16 13:08:59 EDT 2024
Citibank                                            (p)DSNB MACY S                                       Department Stores National Bank
Po Box 6217                                         CITIBANK                                             c/o Quantum3 Group LLC
Sioux Falls, SD 57117-6217                          1000 TECHNOLOGY DRIVE MS 777                         PO Box 657
                                                    O FALLON MO 63368-2239                               Kirkland, WA 98083-0657


Enhanced Recovery Company                           LVNV Funding, LLC                                    Midland Funding LLC
Attn: Bankruptcy                                    Resurgent Capital Services                           PO Box 2011
8014 Bayberry Road                                  PO Box 10587                                         Warren, MI 48090-2011
Jacksonville, FL 32256-7412                         Greenville, SC 29603-0587


Midland Funding LLC                                 Midland Funding Llc                                  Office of the US Trustee
c/o Chase Hague, Esq                                Attn: Bankruptcy                                     51 S.W. 1st Ave.
PO Box 290335                                       Po Box 939069                                        Suite 1204
Tampa, FL 33687-0335                                San Diego, CA 92193-9069                             Miami, FL 33130-1614


(p)PREFERRED CREDIT INC                             Synchrony Bank                                       Synchrony Bank/ JC Penneys
628 ROOSEVELT ROAD SUITE #100                       c/o PRA Receivables Management, LLC                  Attn: Bankruptcy
SAINT CLOUD MN 56301-4867                           PO Box 41021                                         Po Box 965064
                                                    Norfolk VA 23541-1021                                Orlando, FL 32896-5064


Synchrony Bank/TJX                                  (p)UNIFUND CCR LLC                                   Adniel Leon
Attn: Bankruptcy Dept                               ATTN MEDIA DEPARTMENT                                4040 NW 187th Terrace
Po Box 965060                                       10625 TECHWOOD CIRCLE                                Miami Gardens, FL 33055-2741
Orlando, FL 32896-5060                              CINCINNATI OH 45242-2846


Jose A Blanco                                       Nancy K. Neidich
Jose A. Blanco, P.A.                                www.ch13miami.com
102 E 49th ST                                       POB 279806
Hialeah, FL 33013-1853                              Miramar, FL 33027-9806




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Card Services                                 Department Store National Bank/Macy’s                Preferred Credit Inc
Attn: Bankruptcy                                    Attn: Bankruptcy                                     Po Box 1970
Po Box 15298                                        9111 Duke Boulevard                                  St Cloud, MN 56301
Wilmington, DE 19850                                Mason, OH 45040


Unifund CCR, LLC
10625 Techwoods Circle
Cincinnati, OH 45242
                           Case 21-10751-CLC               Doc 50         Filed 03/16/24      Page 8 of 8


           The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                      End of Label Matrix
                                              Mailable recipients    19
                                              Bypassed recipients     1
                                              Total                  20
